Case 3:20-cr-30005-NJR Document1 Filed 01/23/20 Pagelof2 Page ID #3

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" FILED
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS JAN 2 3 2020

CLERK, U.S. DISTRICT COURT

; SOUTHERN DISTRI
UNITED STATES OF AMERICA, EAST ST. LOUIS OFFIER NOS
Plaintiff, )
)
vs. ) CRIMINAL NUMBER: AO-20005- Nuc
)
MONTREECE L. TRAVIS, ) Title 18,
a/k/a MONTY L. TRAVIS ) United States Code,
) Section 641
Defendant.
INDICTMENT
THE GRAND JURY CHARGES:
1. From in or about September of 2019 through in or about November 2019, in

Madison County, within the Southern District of Illinois,
MONTREECE L. TRAVIS, a/k/a MONTY L. TRAVIS
the defendant, willfully and knowingly did steal and purloin three Apple IPads, of a value
exceeding $1,000, property of the United States Department of Justice.
2. At all times relevant, MONTREECE L. TRAVIS, a/k/a MONTY L. TRAVIS
was employed by World Wide Technology at the North American Integration Center in
Edwardsville, Illinois as a fork lift operator and temporary employee.

os After stealing the [Pads he attempted to pawn two of the [Pads and sold the third.

All in violation of Title 18, United States Code, Section 641.
Case 3:20-cr-30005-NJR Document1 Filed 01/23/20 Page2of2 Page ID #4

SMA
STEVEN D. WEINHOEFT
United States Attorney
Southern District of Illinois

Moy, Cte

NORMAN R. SMITH
Assistant United States Attorney

A TRUE BILL

 

Recommended bond: $20,000 unsecured
